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                            Clerk's Courtroom Motions/Miscellaneous Minute Sheet



UNITED STATES OF AMERICA

v.
                                                                                     Case No: 05-40126-01-RDR
DIANA VELIA GUYTON

                                            Location: Topeka, Kansas

                                                                                        AUSA: Gregory G. Hough
                                                                                        Deft. Atty.: Richard Jones

 JUDGE:                      Rogers                      DATE:                                        8/18/2006

 DEPUTY CLERK:               Mary E. Hill                TAPE/REPORTER:                    Stewart-Nora Lyon &
                                                                                     Associates

 INTERPRETER:                Bracamonte                  PRETRIAL/PROBATION:



                                            MOTION HEARING


                        Hearing was scheduled for the motions by government for a D.N.A. exemplar and to continue
the trial. During the hearing, counsel for the government asked to withdraw the motions. The court granted the
request. This case will proceed to jury trial beginning on 8/21/06 at 9:30 a.m.
